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                 Exhibit 10
                      Case 1:22-cr-00673-LAK Document 137-10 Filed 05/08/23 Page 2 of 6
F10705-E001526976 (redactions)_Redacted
     ., Date: 9/28/2021
     ., Custodians:



Additionally, for F10705-E001146472 (or the similar documents), is there indication that it was sent to Silvergate Bank?
The versions previously provided were drafts prepared by Panamanian counsel at the request of                    . Attached is a
family of documents, including an executed version of F10705-E001146472, which were sent to Silvergate Bank. The custodians of
these files are                                     , and FTX.

Best,

Stephanie




From: Raymond, Samuel (USANYS)
Sent: Thursday, February 16, 2023 3:47 PM
To: Wheeler, Stephanie G.                              ; Rehn, Nathan (USANYS)                                ; Roos, Nicolas
(USANYS)                              ; Rohrbach, Andrew (USANYS)                                    ; Peikin, Steven R.

Cc: McDonald, James M.                               ; Sassoon, Danielle (USANYS)                                 ; Croke, Jacob M.
                        ; Friedlander, Nicole W.                              ; Levin, Sharon Cohen                            ;
Materni, Michele C.                            >; O'Hara, Daniel P.                         ; Kudla, Danielle (USANYS)

Subject: RE: [EXTERNAL] RE: FTX - Priority Requests for Documents and Presentations

Thanks Stephanie - this is very helpful, and we're very grateful for how quickly you got this to us. Are there any other documents
you expect to produce to us on these topics?

Also, could you tell us the date and custodian for the following documents in the production:

F10705-E001141324 (redactions)_Redacted
F10705-E001146472
F10705-E001157938
F10705-E001230022
F10705-E001526976 (redactions)_Redacted

Additionally, for F10705-E001146472 (or the similar documents), is there indication that it was sent to Silvergate Bank?



Samuel L. Raymond
Assistant United States Attorney
Digital Asset Coordinator
Southern District of New York



From: Wheeler, Stephanie G.
Sent: Thursday, February 16, 2023 12:21 PM
To: Rehn, Nathan (USANYS)                           Roos, Nicolas (USANYS)                         ; Rohrbach, Andrew (USANYS)
                            ; Peikin, Steven R.
Cc: McDonald, James M.                                  ; Raymond, Samuel (USANYS)                              ; Sassoon, Danielle
(USANYS)                            ; Croke, Jacob M.                         ; Friedlander, Nicole W.
                                Levin, Sharon Cohen                           ; Materni, Michele C.                              ;
O'Hara, Daniel P.<

Subject: RE: [EXTERNAL] RE: FTX - Priority Requests for Documents and Presentations
                                                                                                              SONY_03_00568314
                      Case 1:22-cr-00673-LAK Document 137-10 Filed 05/08/23 Page 3 of 6
Dear Thane,

Attached is a zip file containing documents relating to legal advice concerning whether FTX.com, Alameda or entities (other than
FTX US) needed to register as a MSB or have money transmitting licenses. As we discussed yesterday, as part of its cooperation,
the FTX Debtors agreed to waive privilege on these topics to assist in your investigation.

Best,

Stephanie


From: Rehn, Nathan (USANYS)
Sent: Tuesday, February 14, 2023 5:43 PM
To: Roos, Nicolas (USANYS)                                Wheeler, Stephanie G.                             ; Rohrbach, Andrew



 _-----2_)_====--_-_ -=-=- --===--------
(USANYS)                                   ; Peikin, Steven R.
Cc: McDonald, James M.                                   Raymond, Samuel (USANYS)                                    Sassoon,
Danielle (USANYS)                                   ; Croke, Jacob M.                       ; Friedlander, Nicole W.
                               Levin, Sharon Cohen                              Materni, Michele C.
O'Hara, Daniel P.                           ; Kudla, Danielle (USANYS)
Subject: RE: [EXTERNAL] RE: FTX - Priority Requests for Documents and Presentations

Hi Stephanie,

Can we get on the phone with you tomorrow morning if possible? We want to discuss any privilege issues relating to questions we
might have for          and/or Fenwick dealing with whether FTX.com needed to register as a MSB or have money transmitting
licenses.

Thank you,

Thane


                                                --


From: Roos, Nicolas (USANYS)
Sent: Monday, February 13, 2023 9:40 PM
To: Wheeler, Stephanie G.                               ; Rohrbach, Andrew (USANYS)                             ; Peikin, Steven R.

Cc: McDonald, James M.                              ; Raymond, Samuel (USANYS)                             ; Sassoon, Danielle
(USANYS)                            Croke, Jacob M.                       Friedlander, Nicole W.
                              ; Rehn, Nathan (USANYS)                     ; Levin, Sharon Cohen                            ;
Materni, Michele C.                             O'Hara, Daniel P.                       ; Kudla, Danielle (USANYS)

Subject: RE: [EXTERNAL] RE: FTX - Priority Requests for Documents and Presentations

Thanks very much, we appreciate it.


From: Wheeler, Stephanie G.
Sent: Monday, February 13, 2023 9:17 PM
To: Roos, Nicolas (USANYS)                           Rohrbach, Andrew (USANYS)                            ; Peikin, Steven R.

Cc: McDonald, James M.                              ; Raymond, Samuel (USANYS)                             ; Sassoon, Danielle
(USANYS)                            Croke, Jacob                          Friedlander, Nicole W.
                             >; Rehn, Nathan (USANYS)                     ; Levin, Sharon Cohen
Materni, Michele C.                            ; O'Hara, Daniel P.                      ; Kudla, Danielle (USANYS)

Subject: RE: [EXTERNAL] RE: FTX - Priority Requests for Documents and Presentations

We will try to send them by Box tomorrow.


                                                                                                            SONY_03_00568315
Case 1:22-cr-00673-LAK Document 137-10 Filed 05/08/23 Page 4 of 6
Date: Friday, Jan 13, 2023 at 8:09 PM
                        Case 1:22-cr-00673-LAK Document 137-10 Filed 05/08/23 Page 5 of 6
To: Roos, Nicolas (USANYS)                            Sassoon, Danielle (USANYS)                              , Rohrbach, Andrew
(USANYS)                                   Rehn, Nathan (USANYS)                              Raymond, Samuel (USANYS)

Cc: Steve Peikin                                                 , McDonald, James M.                             , Croke, Jacob M.
                          Friedlander, Nicole W.                              Wheeler, Stephanie G.
Levin, Sharon Cohen                            Materni, Michele C.
Subject: FW: FTX - Priority Requests for Documents and Presentations

Dear Nick,

Updates on each of your priority requests are in-line below. Happy to discuss if helpful.

Best,

Stephanie

From: Roos, Nicolas (USANYS)
Sent: Thursday, January 12, 2023 11:59 PM
To: Wheeler, Stephanie G.
Cc: Peikin, Steven R.                          McDonald, James M.                                  ; Sassoon, Danielle (USANYS)
                                  Rohrbach, Andrew (USANYS)                                      Raymond, Samuel (USANYS)
                                  Rehn, Nathan (USANYS)                               ; Croke, Jacob M.
Friedlander, Nicole W.                                O'Hara, Daniel P.                              Ross, Luke W.

Subject: [EXTERNAL] RE: FTX - Priority Requests for Documents and Presentations

Dear Stephanie,

Can you let us know the status of responses to the other priority items listed below? We appreciate the materials you've sent to
date, and if there's anything responsive to these requests in your upcoming production, it would be helpful if you could identify the
documents and/or also produce them on Box.

Thank you,

Nick


From: Roos, Nicolas (USANYS)
Date: Friday, Jan 06, 2023 at 12:25 AM
To: Peikin, Steven R.                             McDonald, James M.                              Levin, Sharon Cohen
                         , Friedlander, Nicole W.                             , Wheeler, Stephanie G.                          ,
Croke, Jacob M.
Cc: Sassoon, Danielle (USANYS)                                     Rohrbach, Andrew (USANYS)                                       Rehn,
Nathan (USANYS)                                 , Raymond, Samuel (USANYS)
Subject: [EXTERNAL] FTX - Priority Requests for Documents and Presentations

Hello:

We're writing to request the following on an expedited basis, ideally as soon as possible. These would be our top priorities right
now:

         1. A presentation on anything you find about political donations/contributions by Sam Bankman-Fried,               , and
         Nishad Singh, including the source of funds for such contributions.


       We would need to review the 60,000 documents identified in 2 and 3 below before being in a position to make a
presentation on this topic.


                                                                                                                SONY_03_00568321
     2. Any documents or communications relating to political donations/contributions by Sam Bankman-Fried,                  , and
                   Case 1:22-cr-00673-LAK Document 137-10 Filed 05/08/23 Page 6 of 6
     Nishad Singh.



      Our search terms have identified almost 60,000 documents, which are being reviewed.     We have attached four interesting
documents we have identified to date.

     3. Any documents or communications relating to the campaign finance laws or restrictions on political contributions. For this
     one, the custodians can be limited Sam Bankman-Fried,            , and Nishad Singh.



       Our search terms have identified almost 60,000 documents, which are being reviewed.

     4. Any documents or communications relating to payments (including loans) to bank accounts in the names of Sam Bankman­
     Fried,              , and Nishad Singh. As part of this request, please include any documents in which          is
     involved in a discussion of such a loan or payment.



       We produced what we were able to identify by email on 1/7.

     5. Any Slack communication between                and             ; between            and Caroline Ellison; or among
          , Caroline Ellison, and            .



       These documents were our formal production of 1/12, bearing Bates numbers FTX_000283963-FTX_000286875.

     6. Any versions of a Signal chat called "Donation Processing."



       We have not been able to identify an such Signal chat.

     7. The Alameda Research "pointer" page for loans.



       We produced what we were able to identify by email on 1/7.

     8. A presentation on anything you can determine with respect to whether FTX.com, Alameda Research, and/or North
     Dimension were acting as an unlicensed money transmission business.



       We need to complete our review of the 6000 documents discussed in 9 below before being in a position to make a
presentation on this topic.

     9. Any documents or communications about the licensing of FTX.com, FTX.us, Alameda Research, and North Dimension as a
     money transmission business.



        Our searches have identified 6000 documents that we are reviewing. A large percentage of these documents potentially
raise privilege issues. We produced one memo in our formal production of 1/12, bearing bates numbers FTX_000291852-
FTX_000291883.



     10. FTX.com account records for any accounts belonging to Sam Bankman-Fried, Nishad Singh, Caroline Ellison, Gary Wang,
                  , and             .



       Please see the chart below and the attached spreadsheet entitled "2023.01.12 FTX Insiders Withdrawal lnformation.xlsx:


                                                                                                           SONY_03_00568322
